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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES-GENERAL

Case No.: CV 17-6848-DMG (PLAx)                                                           Date: April 12, 2022

Title:    Christy Palmer, et al. v. Cognizant Technology Solutions Corporation, et al.


PRESENT: THE HONORABLE                  PAUL L. ABRAMS
                                        UNITED STATES MAGISTRATE JUDGE
         Christianna Howard                                 N/A                                        N/A
          Deputy Clerk                              Court Reporter / Recorder                       Tape No.

ATTORNEYS PRESENT FOR PLAINTIFF(S):                                   ATTORNEYS PRESENT FOR DEFENDANT(S):
                NONE                                                                 NONE

PROCEEDINGS: (IN CHAMBERS) Plaintiffs’ Motion to Compel (ECF No. 250)

On March 30, 2022, the parties in this action filed a Joint Stipulation (alternatively “JS” (ECF No. 251)) in
support of their positions regarding plaintiffs’ Motion (“Motion” or “Mot.” (ECF No. 250)) seeking to compel
defendants Cognizant Technology Solutions Corporation and Cognizant Technology Solutions U.S. Corporation
(collectively “defendants” or “Cognizant”) to “provide discovery of an alleged instruction to destroy personnel
data, about which [plaintiffs] were informed by a Cognizant whistleblower.” (Mot. at 1; JS at 1). Plaintiffs also
submitted the declaration their counsel Daniel Kotchen (“Kotchen Decl.”) and exhibits; defendants filed the
declaration their counsel Katherine V.A. Smith and exhibits. On April 6, 2022, plaintiffs filed their
Supplemental Memorandum (alternatively “Supp’l Mem.”), along with the supplemental declaration of Daniel
Kotchen. (ECF No. 252). Having considered the pleadings submitted in connection with the Motion, the Court
has concluded that oral argument will not be of material assistance in determining the Motion. Accordingly, the
hearing scheduled for April 20, 2022, is ordered off calendar. See Local Rule 7-15.

By way of background, plaintiffs contend that on December 30, 2021, a “Cognizant whistleblower informed
plaintiffs’ counsel that, “following an August 17, 2021, court decision denying in part Cognizant’s motion to
dismiss in an ongoing visa fraud case brought under the False Claims Act, Cognizant instructed (via email)
human resources personnel in Texas to destroy personnel data concerning Cognizant visa-dependent employees,
and that this data was wiped as instructed.” (JS at 1, 5 (citing Kotchen Decl. ¶ 2)). The whistleblower stated
that the email was sent in August 2021, “shortly after the [District Judge’s] August 19, 2021 Order (Dkt. #157)
related to migration glitch discovery, and shortly after Cognizant’s motion to dismiss was denied on August 17,
2021 in a pending qui tam case [in the District of New Jersey] against Cognizant related to allegedly fraudulent
visa practices.” (Id. at 5 (citing Kotchen decl. ¶ 2)).

Plaintiffs believe “that the whistleblower is credible, especially in light of Cognizant’s other discovery
misconduct in this case.” (Id. at 5). They further contend that the discovery they are requesting now “would
be responsive to two document requests that Plaintiffs issued to Cognizant on August 12, 2021.” (Id. at 1).
Plaintiffs also state that they are concerned about “any such data instruction” because that “could indicate that
the personnel data Cognizant produced in this case may be incomplete.” (Id.). They were “hopeful that they
would be able to secure a copy of this email instruction independently and without Court intervention, but have

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thus far been unable to do so.” (Id. at 6). They note that Cognizant “initially agreed, informally, to investigate
and produce an instruction to wipe data or documents,” but “has since reversed course and refuses to produce
this discovery.” (Id. (citing Kotchen Decl. Exs. 2, 3)).

Plaintiffs request that the Court order Cognizant to “produce this email instruction, as well as all ESI containing
or discussing any instruction to destroy personnel documents or data issued to human resources personnel in or
around August 2021.” (Id. at 5). They explain that they did not receive the information from the whistleblower
“until after the October 2021 close of discovery, and therefore were unable to move to compel production of the
documents at an earlier time.” (Id. at 6). They argue that this “narrow request would not be burdensome, and
is appropriate given the serious nature of the alleged destruction and [this] Court’s [December 29, 2021, Order]
finding that ‘key documents from critical custodians have likely been lost, destroyed, and/or not timely produced
[in this case] as a result of Cognizant’s discovery actions and inactions, and that plaintiffs have been prejudiced
as a result.” (Id. at 2 (citing ECF No. 235 at 17)).

Defendants respond that plaintiffs waited three months1 after getting the December 30, 2021, information from
the alleged whistleblower before sending defendants an informal email request asking defendants to produce all
documents “concerning instructions to delete data and documents, including, but not limited to, instructions
following the Court’s August 17, 2021 Motion to Dismiss order in the qui tam case pending [in] the District of
New Jersey.” (Id. (citing Smith Decl. Ex. B)). Defendants state they take the allegation very seriously and are
actively investigating “based on the limited information provided by Plaintiffs.” (Id.). Although they requested
further details from plaintiffs, plaintiffs “did not provide any.” (Id.).

Defendants contend that the Motion should be denied for three reasons: (1) plaintiffs’ Motion and informal
request for production are both untimely; (2) plaintiffs’ informal email request does not satisfy Rule 34; and (3)
plaintiffs have not established a colorable justification for the Motion.2

Plaintiffs’ Motion and Informal Request for Production Are Both Untimely

       Migration Glitch Discovery

Defendants note that plaintiffs’ “informal [email] request”3 to defendants on March 11, 2022, does not fall within


       1
           In fact, plaintiffs waited almost two and one-half months after receiving the information to seek
information from defendants -- from December 30, 2021, when the whistleblower gave them the information,
until March 11, 2022, when they sent the informal email request to defendants.
       2
             Because the Court determines that the Motion is untimely, it will not consider the parties’ additional
arguments.
       3
             Defendants observe that a request for production must meet certain requirements pursuant to Rule
34 of the Federal Rules of Civil Procedure, such as describing with reasonable particularity each item or category
of items to be inspected; specifying a reasonable time, place, and manner for the inspection,” and providing the
responding party the opportunity to respond in writing within 30 days after being served with the requests. Fed.
R. Civ. P. 34(b)(1) & (2). They assert that plaintiffs’ March 11, 2022, email requesting documents relating to
alleged instructions to delete data and documents, “fails to meet any of these requirements.” (JS at 3 (citation
omitted)).
        Additionally, although plaintiffs contend that the information being sought is related to discovery
                                                                                                     (continued...)
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the limited scope of discovery permitted by the District Judge’s January 4, 2022, Order extending the case
schedule to April 22, 2022, for discovery arising from or related to the late production of information or
documents due to defendants’ “migration glitch.” (Id. at 6-7 (citing ECF No. 237)). They contend that plaintiffs
implicitly acknowledge that the discovery they are seeking does not arise out of or relate to the migration glitch.
(Id. at 7 (citing Kotchen Decl. ¶ 2)). The discovery cut-off date for non-migration glitch discovery was October
15, 2021. (See ECF No. 237 at 1).

Plaintiffs respond that “an instruction to delete data falls squarely within the definition of ‘migration glitch’
discovery -- such discovery is not limited to the loss of documents in connection with Cognizant’s transition to
Office 365 . . . . Rather, ‘migration glitch discovery’ encompasses discovery concerning Cognizant’s pattern
of discovery misconduct.” (Pls.’ Supp’l Mem. at 1-2 (citing ECF 235 at 18-20)). That is, plaintiffs assert that
this Court’s December 29, 2021, Order found Cognizant’s certifications -- which failed to explain that in
searching for documents responsive to discovery defendants had only searched for email ESI (and that they had
not searched for non-email ESI) -- to be “related to the late-discovered migration issue.” (Id. at 2). Plaintiffs
contend, therefore, that “[e]ven more than false certifications, the deletion of data is extreme discovery
misconduct and is therefore timely ‘migration glitch’ discovery.” (Id.).

This Court’s December 29, 2021, Order specifically found that the false certifications made by defendants
directly arose from or were related to the late-discovered migration issue or evidence produced belatedly because
of it. (ECF No. 235 at 4). The Court did not find that defendants’ sanctionable conduct by itself fell into the
category of migration glitch discovery. Instead, defendants’ false certifications regarding the scope of their
document searches -- which the Court noted were acts of “omission during the discovery process” -- directly
related to defendants’ self-limited search for responsive documents both before and after the “migration glitch.”
The Court does not agree with plaintiffs that the information being sought is related to the migration glitch
simply because they purportedly gleaned some information that they deem demonstrates allegedly more
egregious behavior by defendants than was demonstrated by defendants’ false certifications. It is not. Instead,
the information being sought herein, to the extent any such information exists, appears to have arisen in response
to an order that was issued in another action against Cognizant altogether, and is separate and apart from
information that was not captured for production in this action due, at least in part, to defendants’ migration of
their data to Office 365.

Because the information sought by plaintiffs in their email request to defendants’ counsel for production of
information related to the alleged instruction to delete certain personnel data does not arise out of or relate to
the migration glitch, as discussed below the Motion should have been heard (if at all) by October 15, 2021. The
Motion, filed on March 30, 2022, is therefore untimely.

       District Judge Scheduling Order

Defendants also argue that the Motion is untimely because whether or not the information being sought is
related to the migration glitch, it does not comply with the District Judge’s October 29, 2019, Scheduling order,
which provides that the discovery cut-off date “IS NOT THE DATE BY WHICH DISCOVERY REQUESTS
MUST BE FILED AND SERVED; IT IS THE DATE BY WHICH ALL DISCOVERY, INCLUDING ALL
HEARINGS ON ANY RELATED MOTIONS, IS TO BE COMPLETED.” (JS at 7 (quoting Smith Decl.


       3
         (...continued)
requests they served on defendants on August 12, 2021 (JS at 1& n.1), defendants provide arguments refuting
that contention. (Id. at 9-10). In any event, even if construed as a motion to compel a further response to
plaintiffs’ Requests for Production numbers 39 and 41, the Motion is still untimely for the reasons stated herein.
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Ex. A at 2 (emphases in original))). That Order also provides that any discovery motion “must be filed, served
and calendared sufficiently in advance of the discovery cutoff date to permit the responses to be obtained before
that date if the motion is granted.” (Id. (quoting Smith Decl. Ex. A at 2-3)).

Defendants point out that the Motion is noticed for April 20, 2022, “a mere two days before the [migration
glitch] discovery cut-off,” despite the fact that plaintiffs admit they received the information from the
whistleblower on December 30, 2021 -- more than two full months before they first addressed this issue with
defendants on March 11, 2022. (Id. at 7-8). Defendants contend that they “could have spent the last several
months investigating the allegation and/or working with Plaintiffs to informally resolve any concerns” had they
been informed earlier. (Id.).

Plaintiffs respond that they informed defendants of the whistleblower’s statements on March 17, 2022, “and
Cognizant admittedly is ‘actively investigating’ the instruction to destroy data, so there is no reason that it will
be unable to produce the information by the April 22, 2022 discovery cut-off.” (Pls.’ Supp’l Mem. at 2).

Plaintiffs admittedly waited more than two full months after obtaining the purported information from the
whistleblower before bringing it to defendants’ attention in an informal email request; waited another week
before informing defendants of the whistleblower’s alleged statements; and then waited an additional two weeks
to bring this Motion. Although the Motion is scheduled for hearing two days prior to the discovery cutoff date,
the Court does not find the hearing date to be sufficiently in advance of the discovery cutoff date to permit
responses to be obtained before that date even if this Court were to consider the merits of the Motion and grant
it. For this additional reason, the Motion is untimely.

Because the Motion is not seeking documents or information related to migration glitch discovery and/or because
it fails to comply with the District Judge’s Scheduling Order, it is untimely. Plaintiffs’ Motion is denied.

Notwithstanding the foregoing, the Court acknowledges defendants’ representation that they are “actively
investigating the [whistleblower’s] allegations,” and is confident that defendants will not use this Order as a
reason to discontinue that investigation.

IT IS SO ORDERED.



cc:    Counsel of Record




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